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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                Case No: 0:15-cv-60185-AMC

  FORT LAUDERDALE FOOD NOT
  BOMBS, NATHAN PIM, JILLIAN PIM,
  HAYLEE BECKER, and WILLIAM
  TOOLE,

          Plaintiffs,

  v.

  CITY OF FORT LAUDERDALE,

          Defendant.
                                        /


                        PLAINTIFFS’ NOTICE OF ACCEPTANCE OF CITY’S
                                RULE 68 OFFERS OF JUDGMENT

          The Plaintiffs, by and through undersigned counsel, file this Notice of Acceptance

  of City’s Rule 68 Offers of Judgment, stating as follows:

          1.      On November 22, 2021, the City served the Plaintiffs via e-mail with five

  Offers of Judgment under Fed. R. Civ. P. 68, containing identical terms for each Plaintiff

  (Offers are attached hereto as Exhibits A through E).

          2.      On December 6, 2021, Plaintiffs timely notified the City of their acceptance

  of the Rule 68 Offers by e-mail (E-mail is attached hereto as Exhibit F).

          3.      A proposed Final Judgment consistent with the terms of the Rule 68 Offers

  is attached hereto as Exhibit G.

          4.      Attorneys’ fees and costs remain to be determined by the Court at a later

  date.
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  Dated:      December 7, 2021
                                           Respectfully submitted,

                                           /s/ Mara Shlackman
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was served by

  electronic notice generated through the CM/ECF service on December 7, 2021, on all

  counsel or parties of record.


                                                /s/ Mara Shlackman
                                                Mara Shlackman




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